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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

FTX TRADING LTD., et al.,1                                       Case No. 22-11068 (JTD)

         Debtors.                                                (Jointly Administered)



ALAMEDA RESEARCH LTD., WEST REALM
SHIRES, INC., and WEST REALM SHIRES
SERVICES, INC.,

                                    Plaintiffs,

- against -                                                      Adv. Pro. No. 23-50380 (JTD)
MICHAEL GILES, et al.,

                                    Defendants.



         NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

         PLEASE TAKE NOTICE that, pursuant to § 1109(b) of the United States Bankruptcy

Code, if applicable, and Rules 2002 and 9010(b) of the Bankruptcy Rules, the undersigned counsel

for Alumni Ventures Group Embedded Trust and Alumni Ventures Group - Embedded Financial

Technologies Trust A (collectively, the “Alumni Ventures Defendants”) enter their appearance

and such counsel request that notice of all papers, including but not limited to orders, reports,

pleadings, motions, applications or petitions, requests, disclosure statements, answer and reply

papers, and notice of all hearings or other proceedings, whether transmitted by mail, hand-delivery,




1
    Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the Debtors and the last
    four digits of their federal tax identification numbers is not provided herein. A complete list of such information
    may be obtained on the website of the Debtors’ claims and noticing agent at https://cases.ra.kroll.com/FTX.
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telephone, telegraph, telex, facsimile or otherwise, relating to any issue which may be raised in the

above-captioned case be sent to:

 Robert T. Honeywell, Esq.                             Steven L. Caponi, Esq. (No. 3484)
 K&L Gates LLP                                         Matthew B. Goeller, Esq. (No. 6283)
 599 Lexington Avenue                                  K&L Gates LLP
 New York, NY 10022-6030                               600 N. King Street, Suite 901
 Tel: (212) 536-3900                                   Wilmington, DE 19801
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 Email: robert.honeywell@klgates.com                   Fax: (302) 416-7020
                                                       Email: steven.caponi@klgates.com
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 1602 K Street NW
 Washington, DC 20006-1600
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 brian.koosed@klgates.com


       PLEASE TAKE FURTHER NOTICE that this request includes not only the notices and

papers referred to in the Bankruptcy Rules and the Bankruptcy Code provisions specified above,

but also includes all orders and notices of any application, motion, petition, pleading, request,

complaint, or demand, whether formal or informal, whether written or oral, and whether

transmitted or conveyed by mail, courier service, hand-delivery, telephone, facsimile transmission,

electronically, or otherwise, that: affect or seek to affect in any way the rights or interests of the

Alumni Ventures Defendants, or any other party-in-interest in this proceeding; or require or

prohibit, or seek to require or prohibit, any act, delivery of any property, payment or other conduct

by the Alumni Ventures Defendants or any other party-in-interest.

       PLEASE TAKE FURTHER NOTICE that the foregoing simply constitutes a demand

and request for service and does not constitute consent to the jurisdiction of the Bankruptcy Court.

       PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance nor any

prior or later appearance, pleading, claim, or suit shall waive any right of the Alumni Ventures



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Defendants to (a) have final orders in non-core matters entered only after de novo review by a

District Court judge, (b) trial by jury in any proceeding so triable in these cases or any case,

controversy, or proceeding related to this proceeding, (c) have the District Court withdraw the

reference in any matter subject to mandatory or discretionary withdrawal, or (d) any other rights,

claims, actions, defenses, setoffs or recoupments, under agreements, in law, in equity, or otherwise,

all of which are expressly reserved.

Dated: June 15, 2023                          K&L GATES LLP

                                               /s/ Steven L. Caponi
                                              Steven L. Caponi (No. 3484)
                                              Matthew B. Goeller (No. 6283)
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                                              Counsel to Alumni Ventures Group Embedded Trust
                                              and Alumni Ventures Group - Embedded Financial
                                              Technologies Trust A




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                               CERTIFICATE OF SERVICE

      I, Steven L. Caponi, certify that on June 15, 2023 I caused a copy of the forgoing Notice of

Appearance and Request for Service of Papers to be served on those persons receiving notice

through CM/ECF.

                                                           /s/ Steven L. Caponi
                                                           Steven L. Caponi (No. 3484)
